CJA 20 APPO|NTMENT OF AND AUTHORIT¥ TO PA\" COURT APPD|NTED COUNSEL

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Barrows, James

 

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3. MAG. DKT.»'DEF. NUMBER 4. DlST. DKT.IDEF. NUMBER

2;04-020161-001~»11

5. APPEALS DKT./DEF. NUMBER 6. 0

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1. iN cAsE;MATri:R or s. PAYMEN T cATEGonY
U.S. v. Barr ows Felony

(Case Name)

 

9. TYPE PERSON REPRESENTED 10. REP RESENTAT[ON TYPE

Adun Defendam B°§JUE”FHB I)E.Bl>sliioil

 

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ll. OFFENSE(S} CH ARGED (gitle l_J.S. Cotle, :l`lll€ & Se\:lil)li)l if more tll_an one oHe
i) 18 2252A.F -' Activities relating to material constituting

 

nle, list (np to l'iye) major olh'mses charged, according lo severity ofofi`em¢,
or contamm g child pornography v s t . D
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MEMPHIS TN 38174

Telephone Nnmher: (901) 832'4059

  
 

12. ATToRNF.Y's NAME crir,mm¢,m.i..i..s¢N.m.,i..¢i..dm¢.nywmi) 13. count onoim bllil“‘.{\ U»). ' id L'J
"`ND MAIL|NG ADnRESS fm 0 AppointingCouase| l:l C Co-Counsel` fm €r`:\ llii-JHiS-|_
PARSON K_HUMALO` LINDA ij F Sub.t l"or Federal Delender m R SubaFor Rellli'§ d\illtorney
P 0 BOx 40184 l:l l’ Suhsl"`or PanelAttorney C] Y Standhy Cnunael -

Prior Attorney'.t Name:

 

Appointment Date:

ecause the above-named person represented has testified under oath or has
herwlse latit lied thil court tllal he or site (l) il linaucially unable lo employ ctalnsel and
(2) does not wish to waive counsel. and because the interests ofjust`ice so require, the

 

14. NAME AND MAlLlNG ADDRESS Ol" LAW FlRM (only provide per instructions)

attorney whole name appears in ltem ll is appointed to re resent this person in this caae,

    

Slgnature o Presidin¢ Judicial Ofiicer or By Order of the Cou
07/ 1 4{'7 nfl §
Date of0rder Nune Pro Tuuc Dale
kepayment or partial repayment ordered from the person represented far this s ervice at

 

 

time ol` appointment. l:l YES D NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

representation? l:} YES m N() ll'yet. give details nn additional sheeti.
l swear or affirm the truth or correctness ol` the above statements.

Signature ol` Attorney:

Have you previously applied to the court for compensation andJor remimbursement l'or this case?
Other than from the court, have you, or toyour knowledge hat anyone else, received payment (eompemation or anything or value] from any other source in connection with this

CATEGORiEs (Aimi. itemization or tamm with dmi) CEQ]‘]¢§ESD SY§JA§E %I£THYE§)H H§§§E)H AII§B{,T!TEWAL
15, a. Arralgnment and/or Plea

b. Ball and Detentlon l-learings

c. Motion Hearings
fl d. Trial
C e. Sentencing Hearlngs
g f. Revocation i-learings
:' g. Appeals Court

h. Other (Specify on additional sheets)

(Rate per hour - 5 ) TOTALS: .

16. a. interviews and Cnnferences
§§ h. Ohtaining and reviewing records
0 c. Legal research and brief writing
; d. Travei time
3 e. Investigativ e and Other work (Sp¢ciry on additional mem
§ (Rate per hour == $ ) TOTALS:
l‘l'. Travei Expensea (lodging, parking meals, mileage, etc.)

Other Ex penses (other than expert, transcripts, ete.)
l9. CERTIF|CA'I!ON OF ATTORNEYI?AYEE FOR THE PER]OD 0 F SERVICE 10. APPOINTMENT TERMINAT!ON DATE 21. CASE DISPO SlTlON

FROM m tr mann THAN cAsE coMPt.ETioN

11. C LAIM STATUS E| Fisnl Pnyment l:] interim Paym¢nt Numb¢r |:] Suppl¢m¢nul hym¢nt

I:l YES l:l NO lf yes. were you paid? m YES [] NO

Date:

 

    

 

 

 

 

 

 

 

approved' tn excess oflhe statutory thrltshold amount

 

23. lN COURT COM P. 24. OUT OF COU RT CO 25. TRAVEL EXPENSES 26. OTHER EXPENSES zi. TOTAL AMT. APPRrCt-;RT
28. SIGNATL’RE ()F THE PRESlDlN(] .IUDICIAL OFFICER DATE 11|1. JUDGE .' MAG. JUDGE CODE
29. IN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPROVED

34. SIGNATURE OF CHIEF JUDGE, COURT OF APP EALS (OR DELEGATE) Pa,vmem DATE 34¢. JUDGE CODE

 

 

 

 

This document entered on the docket sheet in compliance
with nine 55 and/or sam roch on “J

 

   

UNITED S`TATE DRISTIC COURT - WTERN D'S'TRCT oFTENNESSEE

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Honorablc J on McCalla
US DISTRICT COURT

